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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

                                     :
 SECURITIES AND EXCHANGE             :
 COMMISSION,                         :
                                     :
                          Plaintiff, : Civil Action No.
               v.                    :
                                     :
                                     :
 HARSH NAHATA and AJAY S.            :
 BHANDARI,                           :
                                     :
                      Defendants. :
                                     :
                                     :

                                  COMPLAINT

      Plaintiff Securities and Exchange Commission (the “Commission” or “SEC”)

files this Complaint against defendants Harsh Nahata (“Nahata”) and Ajay S.

Bhandari (“Bhandari”) (collectively “Defendants”) and alleges as follows:

                                   SUMMARY

      1.       From about October 2017 to January 2018, Defendants unlawfully

traded on the basis of material nonpublic information in the securities of KapStone

Paper and Packaging Corporation (“KapStone”) in advance of the January 29,
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2018 public announcement that KapStone would be acquired by WestRock

Company (“WestRock”).

         2.       During the relevant time period, Nahata was a manager in

WestRock’s corporate development group and had access to—and a duty to keep

confidential—material nonpublic information concerning his employer

WestRock’s acquisition of KapStone. In breach of his duty, Nahata both traded on

this confidential information and tipped the information to his friend, Bhandari,

who also traded.

         3.       To assure that his trading would be difficult to trace back to him,

Nahata confirmed with his broker (“Broker 1”) that he would not be individually

identified as holding KapStone common stock on its books and records if he

purchased shares through Broker 1. After the public announcement of the

acquisition, Nahata sold his shares and realized illegal profits of approximately

$38,000. Subsequently, Nahata learned that he was under investigation and fled to

India.

         4.       Likewise, Bhandari attempted to hide that he traded on the illegal tip

he received from Nahata about KapStone’s acquisition, lying to his brokerage firm

(“Broker 2”) about the basis for the trading and the fact that he knew Nahata.

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After the announcement, Bhandari sold his shares and realized illegal profits of

more than $22,000.

      5.       By engaging in the conduct described in this Complaint, Defendants

violated, and unless enjoined will continue to violate Section 10(b) of the

Securities Exchange Act of 1934 (“Exchange Act”) [15 U.S.C. § 78j(b)] and Rule

10b-5 thereunder [17 C.F.R. § 240.10b-5].

                            JURISDICTION AND VENUE

      6.       The Commission brings this action pursuant to Section 21(d) of the

Exchange Act [15 U.S.C. § 78u(d)] to enjoin such acts, practices, and courses of

business, and to obtain disgorgement, prejudgment interest, civil money penalties,

and such other and further relief the Court may deem just and appropriate.

      7.       This Court has jurisdiction over this action pursuant to Sections 21(d)

and (e), 21A, and 27 of the Exchange Act [15 U.S.C. §§ 78u(d) and (e), 78u-1, and

78aa]. Defendants, directly or indirectly, made use of the mails, or the means and

instrumentalities of interstate commerce, or the facility of national security

exchanges, in connection with the transactions, acts, practices, and courses of

business alleged in this Complaint.



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      8.       Venue in this district is proper under Section 27 of the Exchange Act

[15 U.S.C. § 78aa] and 28 U.S.C. § 1391(b), because certain acts, practices,

transactions, and courses of business constituting violations of the federal

securities laws occurred within the Northern District of Georgia and because

Bhandari resides in this district.

                                THE DEFENDANTS

      9.       Harsh Nahata, age 35, was employed as a manager in the corporate

development group at WestRock from August 2016 until July 2018, when his

employment was terminated. Between 2011 and 2016, Nahata worked as a stock

broker, affiliated with various institutions. In that capacity, Nahata held Series 7,

63, 86, and 87 securities licenses. During the time in which the conduct at issue

occurred, Nahata resided in Atlanta, Georgia. After Nahata learned of the SEC’s

investigation, he fled the country. He now resides in Mumbai, India.

      10.      Ajay S. Bhandari, age 46, resides in Cumming, Georgia. He is

employed by a publicly-traded consulting, information technology, and

outsourcing company. He manages that company’s relationships with clients in

the financial services industry.



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                              RELEVANT ENTITIES

      11.      KapStone was a Delaware corporation headquartered in Northbrook,

Illinois. Prior to its acquisition by WestRock, KapStone’s stock was listed on the

New York Stock Exchange under the ticker symbol “KS.” On January 29, 2018,

KapStone announced that it would be acquired by WestRock in a $35 per share,

all-cash transaction. On November 2, 2018, the acquisition closed and KapStone

subsequently terminated its securities registration on November 15, 2018.

      12.      WestRock is a Delaware corporation headquartered in Norcross,

Georgia. The common stock of WestRock trades on the New York Stock

Exchange under the ticker symbol “WRK.”

                                       FACTS

   A. Nahata Had Access to—And a Duty Not to Disclose—Material
      Nonpublic Information Concerning WestRock’s Acquisition of
      KapStone

      13.      In June 2017, WestRock began evaluating a potential acquisition of

KapStone. On or about June 20, 2017, the Chief Executive Officer of WestRock

(“CEO”) instructed the company’s Vice President of Corporate Development

(“VP”) to have his group prepare an independent valuation of the potential

transaction.

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      14.    On or about July 6, 2017, VP assigned Nahata to prepare a written

evaluation of KapStone’s value. As a manager in WestRock’s corporate

development group, Nahata’s responsibilities included identifying, analyzing, and

valuing companies as potential business combinations for WestRock to consider.

      15.    To help ensure confidentiality of this material nonpublic information,

VP advised the corporate development team working on the project, including

Nahata, to refer to the potential acquisition of KapStone by the code name “Project

Kola.”

      16.    WestRock had corporate policies in place to govern employees’

handling of material nonpublic information. For example, WestRock’s Code of

Conduct prohibited employees from disclosing such information to others and

from buying and selling securities based on such information.

      17.    As a WestRock employee, Nahata was subject to WestRock’s policies

governing material nonpublic information and agreed to be bound by them.

Nahata also received training on these policies: completing a training course on

WestRock’s Insider Trading Policy in August 2016, and completing training on

WestRock’s Code of Conduct in both January 2017 and February 2018.



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      18.   Nahata knew that his work regarding the acquisition of KapStone was

confidential. He also knew that he had a duty to WestRock not to trade on the

confidential information or to disclose the information to anyone outside of

WestRock’s deal team.

      19.   In July 2017, Nahata prepared a written valuation of KapStone, or

“valuation model,” which measured the value of KapStone’s individual business

divisions, and suggested a valuation of $27 per share. On July 21, 2017, VP sent

that valuation model to WestRock’s CEO.

   B. WestRock Pursued the KapStone Acquisition and Nahata Traded on
      Material Nonpublic Information

      20.   On October 2, 2017, CEO asked VP to update the valuation of

KapStone.

      21.   During the ensuing week, Nahata updated his written valuation of

KapStone, increasing its valuation to $34 per share. At that time, KapStone’s

common stock was trading between $22 and $23 per share.

      22.   On October 27, 2017, the WestRock Board of Directors (“Board”)

convened for a Board meeting, and Nahata knew that his written analysis of

KapStone’s value was being presented. At that meeting, the Board authorized

management to engage KapStone about a possible merger.
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      23.    After the Board met, VP and Nahata spoke and agreed that the

likelihood of a deal with KapStone had significantly increased.

      24.    That same day, October 27, 2017, Nahata accessed his online

brokerage account and purchased 100 shares of KapStone common stock at a price

of $22.46 per share.

      25.    On November 9, 2017, WestRock senior management approached

KapStone, and the two companies entered merger discussions.

      26.    Between November 9, 2017 and December 7, 2017, Nahata was

involved in supporting the negotiations. He performed numerous tasks related to

the potential merger, including: (1) updating his KapStone valuation analysis;

(2) drafting due diligence requests for additional materials from KapStone;

(3) participating in internal meetings with WestRock senior management,

including the CEO, in which details of the merger were discussed; and (4) working

with WestRock’s outside financial advisers, who were assisting with the

acquisition. During this period, VP and Nahata discussed that the merger

negotiations were progressing and that there was a substantial probability that the

deal would close.



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   C. Nahata Received a Confidentiality Agreement

      27.      Between December 7, 2017 and January 1, 2018, Nahata travelled to

India for a previously planned vacation. During that period, Nahata had access to

his WestRock email account.

      28.      On December 13, 2018, WestRock sent Nahata a Confidentiality

Agreement relating to the KapStone deal via email. Nahata was one of

approximately 20 recipients of the email. The Confidentiality Agreement stated

that WestRock was engaged in confidential discussions that may result in the

acquisition of KapStone and that the recipients of the Confidentiality Agreement

were receiving it because they may be or have been asked to participate in the

transaction.

      29.      In keeping with WestRock’s policies on handling material nonpublic

information and Code of Conduct, the Confidentiality Agreement reminded

recipients that they were “prohibited from disclosing or confirming the fact that

discussions regarding a possible transaction are taking place.” It also stated that

the “prohibition extends to disclosures to anyone (including your spouse and other

family members, friends and WestRock’s employees and customers) . . . .”




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       30.    The Confidentiality Agreement stated further that “[a]ny disclosure

made in violation of this letter may violate federal securities laws since WestRock

and KapStone are both publicly traded companies. Accordingly, appropriate

disciplinary measures will be taken against any person failing to abide by the terms

of this letter.”

       31.    Finally, the letter reminded recipients that the “proposed transaction

should be referred to as ‘Project Kola.’”

       32.    Nahata received the Confidentiality Agreement in December 2017.

       33.    On or about January 1, 2018, Nahata returned from India and

continued to be involved in the transaction by assisting a colleague in WestRock’s

corporate development group with revising and updating the KapStone valuation

analysis.

       34.    Because Nahata was a member of the deal team and on the list of

individuals subject to the Confidentiality Agreement, details regarding the

negotiations between WestRock and KapStone were openly discussed in his

presence.

       35.    As of December 22, 2017, Nahata also had access to a virtual data

room which contained confidential financial data relating to KapStone. In

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addition, Nahata received daily emails that identified the confidential financial

documents shared between KapStone and WestRock.

   D. Nahata Sought to Avoid Detection and Purchased More Shares of
      KapStone Stock in His Account and in a Second Account Nahata
      Opened in His Brother’s Name

      36.    On January 3, 2018, Nahata emailed his brokerage firm, asking: “If I

hold a particular security, would the company know who the holder is? . . . [Do] I

show up as a shareholder in [the] company’s records or does [the] company’s

records show [Broker 1] as a shareholder?”

      37.    On January 8, 2018, a representative of Broker 1 responded that

Nahata’s stocks would be held by the firm’s clearing partner in “street name” for

Nahata’s benefit. The representative provided a link to an online article explaining

that “street name” means that the shares are held in the name of the broker or

another nominee and allocated by the broker to the client. In other words, Nahata

would not appear as a shareholder in the records of the company whose stock he

purchased.

      38.    Within days of receiving that response, Nahata began purchasing

additional KapStone common stock.




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      39.   On January 12, 2019, WestRock’s Board authorized management to

make a $29 per share offer to purchase KapStone.

      40.   That same day, Nahata deposited $10,000 cash into his brokerage

account and purchased 172 shares of KapStone stock at prices ranging between

$25.95 and $26.03 per share.

      41.   On January 16, 2018, Nahata deposited an additional $30,000 cash

into his brokerage account. On January 18, he purchased another 200 shares of

KapStone stock at prices ranging between $25.35 and $25.40 per share.

      42.   Also on January 18, 2018, Nahata opened a new online brokerage

account at Broker 1 (“Second Account”). Although Nahata opened the Second

Account in the name of his brother, Nahata owned and controlled the Second

Account. The home address and bank account information used to open the

Second Account belonged to Nahata. Similarly, the internet log-ins to this Second

Account were all from the same Atlanta-area IP addresses that Nahata used to log-

in to his own account. The internet log-ins to the Second Account were also done

on the same dates and around the same times that Nahata logged-in to his own

account. In addition, Nahata’s brother was in India at the time the Second Account

was opened and the trading in KapStone occurred.

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      43.   On January 19, 2018, Nahata funded the Second Account with a

$3,000 deposit from his checking account.

      44.   On January 22, 2018, WestRock increased its offer to $35 per share.

That same day, Nahata purchased an additional 100 shares of Kapstone stock at

$25.69 per share in his account and 37 shares of KapStone stock at $25.65 per

share in the Second Account.

      45.   On January 25, 2018, Nahata deposited $30,000 from his checking

account into the Second Account.

      46.   On January 26, 2018, the last trading day before WestRock and

KapStone announced the acquisition, Nahata purchased 3,400 shares of KapStone

stock at prices ranging between $25.70 and $26.56 per share in his own account,

and 220 shares of KapStone stock at prices ranging between $25.77 and $26.58 per

share in the Second Account.

      47.   In total, from approximately October 2017 to January 2018, Nahata

invested over $113,000 in KapStone, a stock in which he had never previously

invested. His KapStone holdings represented approximately 90% of his portfolio

in these two accounts.



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      48.    On January 29, 2018, after the public announcement that WestRock

had agreed to acquire KapStone in an all-cash transaction at a cost of $35 per

share, Nahata sold all of the KapStone stock he had acquired in both his account

and the Second Account, realizing combined illegal profits of approximately

$38,002.

   E. Nahata Tipped Bhandari
      49.    In addition to his own illegal trading, Nahata breached his duty to

WestRock and its shareholders by tipping his friend, Bhandari, about the

acquisition. Like Nahata, Bhandari traded on the material nonpublic information.

      50.    Nahata and Bhandari both come from the Rajasthan region of India

and practice the same religion, Jainism, which has approximately 150,000 total

followers living in the United States.

      51.    In early 2017, when Nahata and his family were moving to Atlanta, a

relative of Bhandari, who was also friends with Nahata, introduced the two men.

Bhandari and Nahata became friends, socializing with their families multiple times

in 2017. In text messages, Nahata referred to Bhandari, who was ten years

Nahata’s senior, as “bhaiya,” a Hindi word meaning “elder brother.” Bhandari

knew Nahata worked at WestRock.

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      52.   On or about January 14, 2018, while Nahata’s family was in India,

Bhandari invited Nahata to his house for lunch and to watch a National Football

League playoff game.

      53.   Approximately two days prior to this lunch, on January 12, 2018,

WestRock’s Board authorized management to make a $29 per share offer to

purchase KapStone, and Nahata purchased 172 shares Kapstone stock.

      54.   Sometime during or around the time of this lunch, Nahata tipped

Bhandari material nonpublic information about the KapStone acquisition, and

Bhandari subsequently traded on the confidential information as described below.

      55.   Also during this lunch, Bhandari accessed his brokerage account at

Broker 2—the first time he had accessed that account on a weekend in over two

months.

      56.   On January 16, 2018, the first trading day after Bhandari and Nahata’s

lunch, Bhandari bought 786 shares of KapStone common stock, a stock he never

previously owned, in his brokerage account. He funded that purchase by both

selling stock of a technology company that he had held in the account and

transferring money from his savings account.



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      57.    On January 19, 2018, Bhandari purchased an additional 814 shares of

KapStone stock. Five days later, on January 24, he bought an additional 980

shares of KapStone stock.

      58.    Bhandari funded these additional purchases by transferring funds from

an online financial advisory account and taking a $25,000 cash advance on one of

his credit cards, effectively trading on margin.

      59.    On January 23, 2018, Bhandari contacted a representative of Broker 2

and inquired about trading options, which would allow him to buy more KapStone

securities, but was told he could not trade options in that account.

      60.    On January 29, 2018, the day the merger was publicly announced,

Bhandari held approximately $56,000 in KapStone stock, representing 36% of the

assets in his brokerage account—by far his largest concentration in any one

holding. That same day, Bhandari sold all his KapStone stock, realizing illegal

profits of approximately $22,426.

      61.    Nahata received a benefit from disclosing material nonpublic

information about WestRock’s impending acquisition of KapStone to his close

personal friend Bhandari.



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      62.    On February 6, 2018, a representative of Broker 2 contacted Bhandari

because his trading in KapStone had triggered an alert. When questioned about

why he invested and if he knew anyone associated with either WestRock or

KapStone, Bhandari falsely claimed to have invested in KapStone from his own

research and falsely denied knowing anyone associated with WestRock.

   F. Nahata Flees to India
      63.    Subsequent to the SEC’s request for documents relating to Nahata’s

involvement in WestRock’s acquisition of KapStone, WestRock opened an internal

investigation of its own.

      64.    In July 2018, WestRock’s General Counsel and members of its human

resources department interviewed Nahata. During that interview, Nahata admitted

to being involved in preparing the Kapstone valuation analysis and knowing that

the analysis would be presented to WestRock’s Board at the October 27, 2017

meeting. Nahata also admitted to assisting his colleague with updating the

KapStone valuation analysis in January 2018 and knowing that the deal was “hot”

at that time. Nahata also admitted to reading and understanding WestRock’s

Insider Trading Policy. However, Nahata refused to answer any questions about

his trading in KapStone securities.

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      65.     Because of his refusal to answer questions about his trading activity,

WestRock terminated Nahata for failing to cooperate with its internal investigation.

      66.     On July 16, 2018, the Commission staff subpoenaed Nahata, who

failed to respond.

      67.     After receiving the subpoena from the SEC, Nahata and his family

fled the United States and returned to India.

                               CLAIM FOR RELIEF

                Violations of Section 10(b) of the Exchange Act
    [15 U.S.C. § 78j(b)]and Rule 10b-5 Thereunder [17 C.F.R. § 240.10b-5]
      68.     The Commission re-alleges and incorporates by reference each and

every allegation in paragraphs 1 through 67 inclusive, as if they were fully set forth

herein,

      69.     By engaging in the conduct described above, from approximately

October 2017 to January 2018, Nahata and Bhandari directly or indirectly, by use of

the means or instruments of interstate commerce or of the mails, or the facility of a

national securities exchanges, in connection with the purchase and sale of securities

described herein, knowingly or recklessly:

      a.      employed devices, schemes, or artifices to defraud;



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      b.     made untrue statements of material facts and omitted to state material

      facts necessary in order to make the statements made, in light of the

      circumstances under which they were made, not misleading; and/or

      c.     engaged in acts, practices, and courses of business which operated or

      would operate as a fraud or deceit upon any person, in connection with the

      purchase or sale of any security,

all as more particularly described above.

      70.    Nahata and Bhandari knowingly, intentionally, or recklessly engaged

in the aforementioned devices, schemes or artifices to defraud, made untrue

statements of material facts and omitted to state material facts, and/or engaged in

fraudulent acts, practices and courses of business. By engaging in such conduct,

Nahata and Bhandari acted with scienter, that is, with an intent to deceive,

manipulate or defraud or with a severely reckless disregard for the truth.

      71.    As detailed above, information regarding the acquisition of KapStone

was confidential, material, and nonpublic. A reasonable investor would have

viewed this information as being important to his or her investment decision and as

significantly altering the total mix of information available to the public.



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      72.    As an employee of WestRock, Nahata owed a duty of trust and

confidence to WestRock and its shareholders.

      73.    Nahata breached the duty of trust and confidence he owed to WestRock

and its shareholders by trading on the basis of this information.

      74.    Nahata knew or was reckless in not knowing that it was a violation of

the securities laws to trade on the material nonpublic information concerning the

acquisition of KapStone.

      75.    Pursuant to WestRock’s policies on handling material nonpublic

information, its Code of Conduct, and Confidentiality Agreement, Nahata also owed

a duty to WestRock not to tip material nonpublic information to any other person

where such information may be used to his or her profit.

      76.    In breach of his duty owed to WestRock and its shareholders, Nahata

knowingly or recklessly tipped Bhandari material nonpublic information regarding

the acquisition of KapStone.

      77.    Nahata and Bhandari knew or were reckless in not knowing that the

information concerning the acquisition of KapStone that Nahata provided to

Bhandari was material and nonpublic.



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      78.    Nahata and Bhandari knew or were reckless in not knowing that Nahata

had a duty not to tip material nonpublic information regarding the acquisition of

KapStone to Bhandari.

      79.    Nahata and Bhandari knew or were reckless in not knowing that Nahata

breached this duty by tipping Bhandari material nonpublic information regarding the

acquisition of Kapstone, while knowing or recklessly not knowing that Bhandari

would trade on this information.

      80.    Nahata received a personal benefit in exchange for tipping the material

nonpublic information regarding the acquisition of Kapstone to Bhandari.

      81.    Nahata knew or was reckless in not knowing that it was a violation of

the securities laws to tip Bhandari material nonpublic information concerning the

acquisition of KapStone.

      82.    Bhandari knew, consciously avoided knowing, was reckless in not

knowing, or should have known that Nahata disclosed the information in breach of

his duty and that Nahata received a personal benefit.

      83.    Bhandari intentionally or recklessly traded on the basis of the

information that Bhandari knew or was reckless in not knowing was material and

nonpublic.

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      84.     Bhandari knew or was reckless in not knowing that it was a violation of

the securities laws to trade on the material nonpublic information concerning the

acquisition of KapStone.

      85.     By reason of the foregoing, Nahata and Bhandari, directly and

indirectly, violated and, unless enjoined, will continue to violate Section 10(b) of

the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. §

240.10b-5].

                              PRAYER FOR RELIEF

      WHEREFORE, the Commission respectfully requests that this Court enter a

final judgment:

                                          I.

      Permanently restraining and enjoining Defendants from, directly or

indirectly, violating Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and

Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5];

                                          II.

      Ordering disgorgement by Defendants of all ill-gotten gains or unjust

enrichment, with prejudgment interest, to effect the remedial purposes of the federal

securities laws;

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                                         III.

      Ordering Defendants to pay civil penalties up to three times the profits made

pursuant to Section 21A of the Exchange Act [15 U.S.C. § 78u-l]; and

                                         IV.

      Granting such other and further relief as this Court may determine to be just

and necessary.


                                 JURY DEMAND

      Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff

demands that this case be tried to a jury.



                                        Respectfully submitted,

                                        /s/ Kristin W. Murnahan
                                        M. Graham Loomis
                                        Regional Trial Counsel
                                        Georgia Bar No. 457868
                                        Email: loomism@sec.gov

                                        Kristin W. Murnahan
                                        Senior Trial Counsel
                                        Georgia Bar No. 759054
                                        Email: murnahank@sec.gov

                                        Securities and Exchange
                                        Commission

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                                   950 East Paces Ferry Road, N.E.
                                   Suite 900
                                   Atlanta, Georgia 30326-1382
                                   Tel: (404) 842-7600
                                   Fax: (404) 842-7666


                                   Jennifer C. Barry
                                   Regional Trial Counsel
                                   (pro hac vice motion to be filed)
                                   Email: BarryJ@sec.gov

                                   John V. Donnelly III
                                   Senior Trial Counsel
                                   (pro hac vice motion to be filed)
                                   Email: DonnellyJ@sec.gov

                                   Securities and Exchange Commission
                                   1617 JFK Blvd., Suite 520
                                   Philadelphia, PA 19103
                                   Telephone: (215) 597-3100
                                   Facsimile: (215) 597-2740

                                   ATTORNEYS FOR PLAINTIFF
                                   SECURITIES AND EXCHANGE
                                   COMMISSION


Dated: August 12, 2019




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